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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                   LAFAYETTE DIVISION

 YURY REMEDIO                                         CASE NO. 6:21-CV-03527

 VERSUS                                               JUDGE ROBERT R. SUMMERHAYS

 NOBLE DRILLING U S L L C ET AL                       MAGISTRATE JUDGE WHITEHURST

                                     SCHEDULING ORDER

     The following case-specific deadlines are hereby set in accordance with Fed. R. Civ. P. 16(b):

  JURY TRIAL:                                  April 3, 2023 at 9:30 a.m. in Lafayette before
                                               JUDGE Robert R. Summerhays. (Counsel shall
                                               report to the judge’s chambers thirty minutes prior
                                               to the start of trial.)

  PRETRIAL CONFERENCE (“PTC”):                 March 21, 2023 at 2:30 p.m. in chambers in
                                               Lafayette before JUDGE Robert R. Summerhays.



  PRETRIAL DEADLINES:                  FOR:

  12/23/2021                    1.     Initial Disclosures. See Fed. R. Civ. P. 26(a)(1).
  21 days after the date of            Under Rule 26(a)(1)(D), “A party that is first served or
  the scheduling order                 otherwise joined after the Rule 26(f) conference must
                                       make the initial disclosures within 30 days after being
                                       served or joined. . . .”

  12/27/2021                    2.     Rule 26(f) Conference of Parties. See Fed. R. Civ. P.
  25 days after the date of            26(f). Note: No discovery may take place before the
  the scheduling order                 conference absent agreement of the parties or court order.
                                       Fed. R. Civ. P. 26(d)(1).

  1/20/2022                     3.     Rule 26(f) Report to Court. The format for this report is
  49 days after the date of            available at http://www.lawd.uscourts.gov.
  the scheduling order

  9/22/2022                     4.     Joinder of Parties and Amendment of Pleadings. See
  180 days before the PTC              Fed. R. Civ. P. 14 and 15.


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  Within five days of receipt   5.    Copies of Reports of Treating Physicians. Copies of
                                      such reports are to be furnished to opposing counsel, not
                                      filed in the record. This Court need not be notified when
                                      such reports are furnished.

  8/23/2022                     6.    Plaintiff’s Expert Information/Reports. See Fed. R.
  210 days before the PTC             Civ. P. 26(a)(2)(B). Counsel are cautioned that experts
                                      will not be allowed to testify regarding material not
                                      contained within their reports.

  9/22/2022                     7.    Defendant’s Expert Information/Reports. See Fed. R.
  180 days before the PTC             Civ. P. 26(a)(2)(B). Counsel are cautioned that experts
                                      will not be allowed to testify regarding material not
                                      contained within their reports.

  10/24/2022                    8.    Discovery Completion and Discovery Motions. This is
  150 days before the PTC             the deadline for completion of all discovery and for
                                      submission of any discovery motions (e.g., motions to
                                      compel). This discovery deadline includes production of
                                      surveillance evidence, unless the parties opted in to the
                                      Lafayette Division’s former surveillance evidence
                                      procedure in their Rule 26(f) report. (Leave of court must
                                      be obtained before taking the deposition of a surveillant.)
                                      A discovery request will be deemed untimely unless the
                                      response to that request would be due before the discovery
                                      deadline.

  11/21/2022                    9.    Dispositive Motions. Dispositive motions must be filed
  120 days before the PTC             by this date.

  11/21/2022                    10.   Daubert Motions. Daubert motions must be filed by this
  120 days before the PTC             date. Daubert motions are challenges to expert testimony
                                      and exhibits or demonstrative aids based upon grounds that
                                      they are not relevant or reliable under the standards set
                                      forth in Daubert v. Merrell Dow Pharmaceuticals, Inc.,
                                      509 U.S. 579 (1993) and Kumho Tire Co., Ltd. v.
                                      Carmichael, 526 U.S. 137 (1999).

  2/21/2023                     11.   Motions in Limine. Motions in limine must be filed by
  30 days before the PTC              this date. Any response must be filed within seven (7)
                                      days.



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  2/21/2023                12.   Meeting of Counsel to Complete the Pretrial Order.
  30 days before the PTC         This meeting must include all TRIAL counsel, but may be
                                 by telephone unless otherwise ordered by this Court.

  3/7/2023                 13.   Joint Pretrial Order. The joint pretrial order (and all
  14 days before the PTC         required attachments) must be filed with the Clerk of Court
                                 by this date. A fillable form for this report is available at
                                 http://www.lawd.uscourts.gov. A copy of the pretrial
                                 order (and all required attachments) must be submitted via
                                 e-mail to Judge Summerhays at
                                 summerhays_courtesycopies@lawd.uscourts.gov in Word
                                 format.

                                 For Jury Trials:
                                 a. A single jointly-submitted set of jury instructions and a
                                 single jointly-submitted jury interrogatory form must be
                                 attached to the pretrial order.
                                 b. Any dispute concerning a jury instruction or
                                 interrogatory must be noted, with proper page-specific
                                 cites to the jurisprudence being relied upon to support each
                                 party’s position. If the dispute is one of fact to be proven
                                 at trial, the fact at issue shall be identified, and the
                                 language for an instruction supporting each factual
                                 scenario shall be attached noting its application to that fact,
                                 if found. The parties must be prepared to discuss disputes
                                 as to jury instructions and jury interrogatories at the
                                 pretrial conference.
                                 c. Jury instructions taken from the Fifth Circuit Pattern
                                 Instructions, or the Louisiana Pattern Civil Jury
                                 Instructions (see 18 La. Civ. L. (section symbol) 1:1, et
                                 seq.), may be identified by number only and citation to the
                                 edition of the volume used.
                                 d. Proposed voir dire questions specific to a party or issue
                                 must be attached to the pretrial order. Copies of boiler
                                 plate voir dire may be obtained on our website, at
                                 www.lawd.uscourts.gov. Counsel shall not duplicate the
                                 Court's boiler plate voir dire.

                                 For Bench Trials:
                                 Each party’s proposed findings of fact and conclusions of
                                 law must be attached to the pretrial order. The conclusions
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                                 of law from plaintiff are to contain each claim made
                                 against each defendant, the remedy or remedies sought, the
                                 basis in law relied upon for those claims and remedies, and
                                 any jurisprudential gloss upon any statute or code article
                                 relied upon with the page cite of the specific language
                                 relied upon supporting or interpreting each of plaintiff’s
                                 claims and remedies. Plaintiff is to cite the standard or
                                 burden of proof it must prove as to each claim, including
                                 any right to attorneys’ fees. Defendants are to respond to
                                 plaintiff’s claims in the same format, if possible, and
                                 additionally cite any affirmative defenses relied upon with
                                 the same level of specificity required for plaintiff (i.e.,
                                 basis in law, jurisprudential gloss, etc.)

  3/7/2023                 14.   Bench Books. The parties shall deliver two bench books
  14 days before the PTC         to Judge Summerhays' chambers for use by the judge and
                                 law clerk at trial. The bench books should be tabbed and
                                 indexed with a cover sheet on which each party is to state
                                 all objections to the admissibility of exhibits. A third copy
                                 of the bench book shall be placed at the witness stand on
                                 the morning of the trial for use by testifying witnesses.
                                 The original exhibits must be entered into evidence at trial.
                                 After trial, the exhibits actually admitted must also be
                                 submitted on CD-ROM.

  3/7/2023                 15.   Trial Depositions. All depositions to be used at trial,
  14 days before the PTC         including video depositions, shall be edited to remove
                                 nonessential, repetitious, and unnecessary material, as well
                                 as objections and colloquy of counsel. A copy of any
                                 edited trial depositions (paper or video for non-jury trials;
                                 video for jury trials are preferred) shall be included in the
                                 bench books. All objections thereto must be filed and
                                 briefed by this deadline. Objections to deposition
                                 testimony will be waived unless submitted along with the
                                 deposition transcripts.

  3/14/2023                16.   Real Time Glossary. The real time glossary shall be
  7 days before the PTC          delivered to the Clerk of Court in Lafayette by this date,
                                 for transmittal to the court reporter. The glossary shall
                                 contain all “key word indexes” from all depositions taken
                                 in the case, all witness lists, all exhibit lists, and copies of
                                 all expert reports.

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  3/14/2023                      17.     Affirmation of Settlement Discussions. On or before this
  7 days before the PTC                  date, with or without a third-party mediator, counsel must
                                         meet in person (unless prior permission otherwise is
                                         obtained from the court) and conduct settlement
                                         discussions and negotiations. (Parties must participate
                                         either in person or by telephone.) An affirmation must be
                                         filed with the Clerk of Court by this date, setting forth the
                                         date counsel conducted settlement discussions. The
                                         affirmation should not disclose any monetary amounts
                                         discussed.

        A copy of any dispositive motions, Daubert motions, or motions in limine, as well as a
 copy of the pretrial order (with all required attachments) shall be e-mailed to Judge Summerhays
 at summerhays_courtesycopies@lawd.uscourts.gov in Word format.

         All matters that must be exchanged among counsel must be exchanged by hand delivery or
 certified mail, unless all counsel agree otherwise, IN WRITING, or unless this Court orders
 otherwise.

        All deadlines in this order are case specific and override any deadlines for the same matter
 found in an applicable rule of civil procedure. All other deadlines in the Federal Rules of Civil
 Procedure shall govern this case and shall be enforced by this Court. Counsel should note Rule
 26 and Rule 37(c)(1).

         This Court will enforce Fed. R. Civ. P. 30, particularly Rule 30(a)(2)(A) (the ten-deposition
 rule) and Rule 30(d)(1) (the rule limiting depositions to one day/seven hours), absent written
 stipulation of the parties or court order. This Court shall enforce Rule 26 unless changed by this
 case-specific order or by subsequent court order.

 Signed at Lafayette, Louisiana, on this 2nd day of December, 2021.

                                         BY DIRECTION OF THE COURT
                                         TONY R. MOORE, CLERK

                                         BY: s/Paula Jordan
                                         Deputy Clerk




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                       PRETRIAL ORDER REQUIREMENTS

                 United States District JUDGE Robert R. Summerhays


 1.    Jurisdictional Basis.

       The jurisdictional basis for all claims shall be explained.


 2.    Claims and Responses.

       Any party asserting a claim shall identify the following, as to each claim: (1) the law and
       any contractual provision supporting the claim; (b) the remedy prayed for as to each
       defendant; and (c) the law supporting that remedy as to that defendant. This requirement
       applies to all counterclaims, cross-claims, third-party claims, and interventions, and the
       parties shall state whether they have stipulated to any intervention.

       Each party against whom a claim has been asserted shall provide the following information:
       (a) the basis or lack thereof for each claim; (b) all affirmative defenses asserted and the
       legal bases therefor; (c) whether the dispute in question is one of law, fact, or contractual
       interpretation; and (d) the law supporting the responses.

       If a bench trial is scheduled, the information regarding claims and responses contained in
       this section shall be supplemented by page-specific citations to supporting jurisprudence
       as to each claim, remedy, defense, and allegation.

       FAILURE TO INCLUDE A CLAIM OR DEFENSE IN THIS ORDER WILL
       CONSTITUTE ABANDONMENT OF THE CLAIM OR DEFENSE.


 3.    Issues of Fact and Issues of Law.

       Identify any TRUE issues of fact or law that remain unresolved as of the pretrial
       conference.




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 4.    Stipulations.

       List any matters to which the parties have stipulated. Counsel are encouraged to stipulate
       to as many factual and legal issues as possible in the interest of reducing costs and delays
       at trial. If the matter will be tried to a jury, counsel shall state whether the stipulations are
       to be read to the jury.


 5.    Will Call Witnesses.

       Each party shall set out a will call witness list that conforms to the requirements of Fed. R.
       Civ. P. 26(a)(3)(A) and include a brief summary (no more than two to three sentences) of
       the subject matter to which each witness will testify. Witnesses who are called exclusively
       for impeachment need not be listed. Counsel are to omit or redact any personal identifiers,
       in conformity with Fed. R. Civ. P. 5.2 and LR 5.7.12.


 6.    May Call Witnesses.

       Each party shall set out a may call witness list that conforms to the requirements of Fed.
       R. Civ. P. 26(a)(3)(A) and include a brief summary of the subject matter to which each
       witness will testify. Counsel are to omit or redact any personal identifiers, in conformity
       with Fed. R. Civ. P. 5.2 and LR 5.7.12.


 7.    Exhibits.

       Each party shall set out an exhibit list, identifying the exhibits the party will use at trial,
       and conforming to the requirements of Fed. R. Civ. P. 26(a)(3)(A)(iii). Counsel are to omit
       or redact any personal identifiers, in conformity with Fed.R.Civ.P. 5.2 and LR 5.7.12.


 8.    Objections to Witness and Exhibit Lists.

       Each party shall list any objections to the witness or exhibits lists of another party,
       including those objections contained in Fed. R. Civ. P. 26(a)(3)(B). ANY OBJECTIONS
       NOT SPECIFICALLY STATED IN THE PRETRIAL ORDER ARE DEEMED WAIVED
       UNLESS EXCUSED BY THE COURT FOR GOOD CAUSE SHOWN. If an exhibit has
       been objected to, a copy of the disputed exhibit must be made available for review at the
       pretrial conference.


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 9.    Counsel Affirmations.

       Counsel for each party shall affirm:

       a.     That he or she is aware that exhibits are to be published to the jury by use of the
              Visual Presenter or a portable data storage device (e.g., flash drive, CD-ROM, etc.)
              unless consent of this Court is obtained upon a showing of impracticality or
              prejudice.

       b.     That he or she is familiar with the operation of the electronic equipment available
              in the courtroom, or note the date he or she has scheduled with the Electronic
              Coordinator for the Western District of Louisiana for training.

       c.     That good faith settlement negotiations have been engaged in within one week prior
              to the pretrial conference.

       d.     The need, if any, for handicap provisions that are provided by the Court.




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